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ORRICK

Official Committee of Equity Security Holders of September 22, 2006
USA Capital Diversified Trust Deed Fund, LLC Client No. 17908
1112 Worthen Circle Invoice No. 1031855

Las Vegas, NV 89145
Attn: Robert G. Worthen
Chair Orrick Contact: Marc A. Levinson

FOR SERVICES RENDERED through August 31, 2006 in connection

with the matters described on the attached pages: $ 200,019.00
DISBURSEMENTS as per attached pages: 4,016.55
TOTAL CURRENT FEES & DISBURSEMENTS (Pay this Amount): $ 204,035.55

Matter(s): 17908/2 — USA Capital Diversified Trust Fund Commi

DUE UPON RECEIPT

The following is for information only:
Previous Balance not included in this invoice:
$475,968.04

If this amount has already been paid, please disregard.

In order to ensure proper credit to your account,
please reference your INVOICE and CLIENT numbers on your remittance.
For inquiries, call: (304) 231-2701. Fax (304) 231-2501.
OHS West:260096042. 1

REMITTANCE COPY - PLEASE RETURN WITH PAYMENT

REMITTANCE ADDRESS: ELECTRONIC FUNDS ELECTRONIC FUNDS
Orrick, Herrington & Sutcliffe LLP TRANSFERS: TRANSFERS:

sa, 0 ee co Foe ee Wire Transfers Only: ACH Transfers Only:

Reference: 17908/ Invoice: 1031855 ABA Number 0260-0959-3 ABA Number 121-000358
ELLN. XX-XXXXXXX Bank of America Bank of America

OVERNIGHT DELIVERY: 100 West 33rd Street, NY, NY 10001 San Francisco Main Branch
Account of Account of

Orrick, Herrington & Sutcliffe LLP

. . Orrick, Herrington & Sutcliffe LLP Orrick, Herrington & Sutcliffe LLP
#72
“ Bank of meric ue ee Account Number: 1499-4-10382 Account Number: 1499-4-10382
San Francisco CA 904103 Reference: 17908/ Invoice: 1031855 Reference: 17908/ Invoice: 1031855
EIN. XX-XXXXXXX ELLN. XX-XXXXXXX

(415) 436-4300
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Official Committee of Equity Security Holders of September 22, 2006
USA Capital Diversified Trust Deed Fund, LLC Client No. 17908
1112 Worthen Circle Invoice No. 1031855

Las Vegas, NV 89145
Attn: Robert G. Worthen
Chair Orrick Contact: Marc A. Levinson

For Legal Services Rendered Through August 31, 2006 in Connection With:

Matter: 2 - USA Capital Diversified Trust Fund Committee

PHASE B100 —- ADMINISTRATION
Task B110 — Case Administration

08/01/06 K. Neureiter Confer with M. Levinson regarding the 0.10 37.50
joint committee response re exclusivity
extension and meeting.

08/01/06 K. Neureiter Review notices and/or pleadings filed 0.40 150.00
throughout day and email various
pleadings to parties.

08/01/06 K. Neureiter Review emails from M. Tucker regarding 0.30 112.50
adding Diversified June statement to
website, review statements, and draft

response.
08/01/06 K. Neureiter Review email from G. Kruse of BMC 0.10 37.50
regarding website and draft response.
08/01/06 L. Ernce Review M. Levinson email report re 0.10 46.50

today’s call on extension of exclusivity
and related matters.
08/02/06 K. Neureiter Review various notices of filings 0.50 187.50
throughout day, pull and review relevant
pleadings, draft separate e-mails and
forward pleadings to M. Levinson and J.
Hermann.
08/02/06 L. Ernce Review various emails re case status 0.20 93.00
including emails re commentary from D.
Cangelosi and anticipated response, re
status of various orders, and strategy
issues in advance of upcoming meetings
with debtors.
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Official Committee of Equity Security Holders of USA Capital Diversified
Trust Deed Fund, LLC - 17908
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08/03/06 M. Levinson Travel from Sacramento to Las Vegas,
continuing to prepare for tomorrow’s
hearings en route and talking with K.
Neureiter from the Sacramento airport
(2.50); business portion of dinner meeting
with T. Allison, S. Smith, R. Charles, T.
Burr and J. Hermann during which we
discuss a number of case administrator
matters (.60).

08/03/06 K. Neureiter Review numerous notices of filings
throughout day (.20); review key
pleadings and draft and send separate
emails with pleadings attached to M.
Levinson, J. Hermann and L. Ernce (.80).

08/03/06 K. Neureiter Draft emai! to J. Hermann and L. Ernce
regarding binder with local rules.

08/03/06 K. Neureiter Review updates filed on USA Capital’s
website.

08/03/06 L. Ernce Review emails re various case status

matters including filing of debtors’ reply
briefs on distribution and cash
management motions, plan discussions,
and related strategy matters in advance of
tomorrow’s hearings.

08/03/06 J. Hermann Portion of the discussion with T. Allison,
R. Charles, M. Tucker, M. Levinson, T.
Burr, S. Smith and others of case
administration matters, among other
matters, at dinner meeting.

08/04/06 M. Levinson Travel from Beckley Singleton to the Las
Vegas airport, conferring en route with M.
Tucker, C. Harvick and J. Hermann about
today’s hearing, about today’s meeting
with the debtors, about next steps with °
respect to collecting the 10-90 and other
loans and about plan issues (.40); travel
from Las Vegas to Sacramento, conferring
with J. Hermann at the Las Vegas airport,
leaving voicemail messages to DIDF
professionals re today’s events and re next
steps and reviewing documents en route,
including re-reviewing the plan proposal
from Plan Proponent No. 1 (2.50).

08/04/06 K. Neureiter Review various notices filed; review
relevant pleadings and forward to J.
Hermann and M. Levinson.

08/04/06 L. Ernce Review various emails re case status and
today’s events.

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3.10 1,736.00
1.00 375.00
0.10 37.50
0.20 75.00
0.20 93.00
0.60 342.00
2.90 1,624.00
0.20 75.00
0.20 93.00
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Official Committee of Equity Security Holders of USA Capital Diversified
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08/04/06 J. Hermann Travel from Las Vegas. after participation
in distribution motion hearing and review
and analysis of asset purchase proposals
enroute.

08/05/06 M. Levinson Review and re-review email memoranda

that arrived during the past four days in
connection with preparing for next steps.

08/05/06 L. Ernce Email to M. Levinson re case status
matters (.10); exchange emails with M.
Levinson re letter from investor to the
court (.10).

08/07/06 K. Neureiter Review various notices filed; review
relevant pleadings and forward to J.
Hermann and M. Levinson.

08/07/06 L. Ernce Review various emails re case status
matters.
08/08/06 K. Neureiter Review various notices filed; review

relevant pleadings and forward to J.
Hermann and M. Levinson.

08/08/06 M. Levinson Exchange email memoranda with B.
Olson re representation of the Diversified
Committee at this morning’s hearings and
review the email account of the hearing
sent thereafter.

08/08/06 L. Ernce Review multiple emails and documents to
catch up on events from last week while
on vacation.

08/09/06 = L. Ernce Review draft stipulation extending
exclusivity and exchange of emails with
US Trustee’s office re same.

08/10/06 M. Levinson Conference with L. Ernce re the meetings
in Los Angeles yesterday and the day
before, re next steps in light of the same
and re other case status and strategic
matters stuff (.60); telephone conference
with C. Harvick re next steps in light of
the meetings in Los Angeles (.30); review
the draft stipulation re extension of
exclusivity and the C. Pajak, S. Strong, G.
Gordon email memoranda re the same
(.20); sign the stipulation, email it to all
counsel and exchange brief follow-up
email memoranda with S. Strong and
others (.10); telephone conversation with
A. Loraditch re this weeks meetings and
developments and re next steps, including
possible meetings in Las Vegas next week
(.30).

September 22, 2006
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2.50 1,425.00
0.50 280.00
0.20 93.00
0.40 150.00
0.20 93.00
0.30 112.50
0.20 112.00
0.60 279.00
0.20 93.00
1.50 840.00
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08/10/06 L. Ernce Review debtors’ website and new press
releases; circulate to Diversified
Committee professionals.

08/10/06 L. Ernce Review exchanges of emails re form of
stipulated order on exclusivity.

08/10/06 L. Ernce Review materials handed out at all-hands
meeting earlier this week.

08/10/06 L. Ernce Conference with M. Levinson re this
week’s meetings and next steps

08/11/06 L. Ernce Review exchanges of emails with U.S.
Trustee office re exclusivity issues.

08/11/06 L. Ernce Multiple conferences and emails with M.

Levinson re possible meetings in Las
Vegas next week with potential plan
proponents, committee and others.

08/13/06 M. Levinson Lengthy email memorandum to C.
Harvick and M. Tucker re numerous
matters that bear upon the upcoming
meetings and hearing in Las Vegas (.20);
review countless emai! memoranda from
last week in preparation for the upcoming
week (1.20).

08/13/06 L. Ernce Telephone conferences with M. Levinson
re this week’s meetings in Las Vegas and
related matters; review M. Levinson email
to M. Tucker and C. Harvick re same.

08/14/06 L. Ernce Review latest versions of cash
management order and order on
distribution motion and emails re First
Trust Deed Fund’s comments to same.

08/14/06 L. Ernce Prepare for this week’s meetings in Las
Vegas.
08/15/06 M. Levinson Travel from Sacramento to Las Vegas for

three days of meetings with numerous
parties re numerous topics, and en route
carefully review the draft letters of intent
from Plan Proponent Nos. 1 and 2, review
documents relating to the 10-90 loan and
confer with L. Ernce (2.50); business
portion of luncheon meeting with B. Olson
and L. Ernce during which we discuss
numerous case status matters including
plan proposals and discussions, claims
objections, the distribution motion and
tomorrow’s Diversified Committee
meeting (.50).

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0.20 93.00
0.10 46.50
0.30 139.50
0.60 279.00
0.10 46.50
0.40 186.00
1.40 784.00
0.40 186.00
0.30 139.50
0.70 325.50
3.00 1,680.00
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Official Committee of Equity Security Holders of USA Capital Diversified
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08/15/06 L. Emce Travel to Las Vegas from Sacramento for
this week’s meeting, reviewing documents
and conferring with M. Levinson en route
(2.50); lunch meeting with M. Levinson
and B. Olson to discuss case status
matters, plan proposals, the distribution
motion, tomorrow’s meetings and other
issues (.50).

08/16/06 M. Levinson Discussions with B. Olson, A. Loraditch
and L. Ernce re various next steps matters
in light of today’s Diversified Committee
meeting and the decisions made during
such meeting.

08/16/06 L. Ernce Conference with M. Levinson, A.
Loraditch and B. Olson re next steps
following today’s Diversified Committee
meeting.

08/17/06 M. Levinson Travel from Las Vegas to Sacramento

: following three days of meetings, and, en
route, review documents and email
memoranda in preparation for next steps
and confer with L. Ernce re the same.

08/17/06 L. Ernce Return travel from Las Vegas to
Sacramento reviewing documents and
conferences with M. Levinson en route.

08/18/06 M. Levinson Review many email memoranda (from R.
Charles, G. Gordon, B. Kotter and L.
Treadway) re procedures for copying the
debtors’ loan documents produced in
response to the request for production sent
by the four committees.

08/18/06 L. Ernce Exchange emails with C. Harvick re
investor statements.
08/18/06 L. Ernce Email to L. Dorsey requesting status of

drafts of orders on cash management,
interim fee procedures and distribution

motions.

08/18/06 L. Ernce Review various electronic notices received
today.

08/18/06 L. Ernce Review list of upcoming dates for

omnibus hearings; email memo to M.
Levinson re same (.10); exchange emails
with M. Levinson re staffing for upcoming
hearings (.10); attention to updating
Diversified Committee website with all
upcoming hearing dates (.10).

08/19/06 M. Levinson Review and re-review certain of last
week’s email memoranda in preparation
for the upcoming week.

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3.00 1,395.00
0.40 224,00
0.40 186.00
2.50 1,400.00
2.50 1,162.50
0.20 112.00
0.10 46.50
0.10 46.50
0.10 46.50
0.30 139.50
0.60 336.00
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08/21/06 M. Levinson Review the draft second case management
order and email A. Loraditch re my
thoughts on the same and re next steps.

08/21/06 L. Ernce Review various electronic notices recently
received.

08/21/06 L. Ernce Review proposed form of second case
management order and emails re same.

08/22/06 L. Ernce Obtain and circulate debtors’ monthly

operating reports for July 2006 and review
portions of same.

08/24/06 M. Levinson Review a lengthy chain of email
memoranda from R. Charles, L. Treadway
and others re the disc containing some of
the loan documents, as reconstructed by

Mesirow.
08/24/06 L. Ernce Review today’s electronic notices.
08/24/06 L. Ernce Review signed order on distribution

motion; email to Diversified professionals
re same and update Diversified Committee
website to include signed order.

08/24/06 L. Ernce Review R. LePome objection to
exclusivity stipulation and email to M.
Levinson re same.

08/25/06 M. Levinson Review A. Landis email memorandum re
exclusivity, review the S. Strong response
thereto and forward the same to the
Diversified Trust professionals under
cover of an email memorandum (.20);
review C. Carlyon and R. Charles email
memoranda re exclusivity and respond to
R. Charles (.10).

08/25/06 L. Ernce Review exchanges of emails between A.
Landis and S. Strong re plan exclusivity
issues.

08/25/06 L. Ernce Review multiple electronic notices
received today.

08/25/06 J. Hermann Review and analysis of accumulated
emails and pleadings received over the last
two weeks.

08/28/06 L. Ernce Obtain and review hearing agenda for
August 31 omnibus hearing; email to M.
Levinson re same and staffing for hearing
(.10); exchange emails with A. Loraditch
re same (.10).

08/29/06 L. Ernce Review exchanges of emails re draft order
granting ordinary course releases.

08/29/06 L. Ernce Review multiple electronic notices.

08/29/06 L. Ernce Review and exchange emails re staffing

for this Thursday’s hearings.

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0.10 56.00
0.10 46.50
0.10 46.50
0.30 139.50
0.10 56.00
0.10 46.50
0.20 93.00
0.10 46.50
0.30 168.00
0.10 46.50
0.20 93.00
1.80 1,026.00
0.20 93.00
0.10 46.50
0.20 93.00
0.10 46.50
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08/30/06 L. Ernce

08/30/06 L. Ernce
08/30/06 M. Levinson

08/31/06 M. Levinson

September 22, 2006

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Review orders authorizing ordinary course 0.30
releases and order approving use of cash
and review emails re modification to
distribution motion.

Review multiple electronic notices. 0.20
Review the draft exclusivity extension 1.20
stipulation and several short email
memoranda re the same from S. Strong, R.
Charles, C. Pajak and others (.20); begin
preparing for tomorrow’s omnibus hearing
and for the meeting thereafter (.40);
review further email memoranda re the
exclusivity extension stipulation from S.
Strong, E. Karasik, A. Jarvis, J. Gordon
and others and reply to the group re next
steps (.20); review A. Landis email
memorandum opposing a further
extension of exclusivity, and review and
respond to the S. Strong email
memorandum re the same and re next
steps (.20); review lengthy R. Charles
email memorandum to A. Landis
requesting an extension, the A. Landis
response thereto and brief follow-up email
memoranda from C. Carlyon re filing the
Stipulation and possibly a motion (.20).
Travel from Sacramento to Las Vegas for 6.90
omnibus hearing and for meetings, and en
route, review the R. Charles revised
outline of a plan term sheet, the most
recent proposal from Plan Proponent No. 2
and related email memoranda (2.50);
review a chain of S. Farrow and L.
Schwartzer email memoranda re the
extension of exclusivity (.10); attend the
omnibus hearing and meetings with
numerous estate professionals and
Diversified Fund members in the hallway
before and after the hearing (1.80); travel
from Las Vegas to Sacramento, and en
route outline next steps and continue
reviewing the debtors’ draft plan circulated
on August 29th (2.50).

B110 — Case Administration Total 47.20

Task B120 — Asset Analysis and Recovery

08/01/06 L. Ernce

Review emails from C. Harvick re 0.10
appraisals received from Mesirow.

139.50

93.00
672.00

3,864.00

24,504.00

46.50
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08/07/06 J. Hermann Participate in conference call with M.
Levinson, A. Jarvis and S. Tingey
regarding strategy, tactics and action items
on collection of DTDF loans, including
Sheraton Hotel loan, Coit loans and
related matters.

08/07/06 J. Hermann Review and analysis of loan documents
and file materials in connection with
conference call to set action items for loan
collection efforts.

08/07/06 J. Hermann Review and analysis of loan documents
and file materials in connection with
conference call to set action items for loan
collection efforts.

08/07/06 J. Hermann Review and analysis of transaction
documents and file materials relating to
BySynergy, LLC promissory note in
response to inquiry from First Trust Deed
Committee counsel.

08/07/06 J. Hermann Telephone conference with C. Carlyon
regarding her questions as to BySynergy
promissory note and attributes of
ownership of the same (.10); participate
in exchange of email correspondence re

same (.30).
08/08/06 = L. Ernce Review chain of emails re meetings
tomorrow with Ashby representatives.
08/14/06 L. Ernce Review emails from C. Harvick with

Diversified loan chart and other
information in advance of tomorrow’s
meetings.

08/14/06 L. Ernce Review B. Kotter email re loan file review
spreadsheet in advance of all-hands call
(.20); review revised spreadsheet (.10).

08/17/06 L. Ernce Review emails from M. Tucker re efforts
to obtain information from Mesirow and
Investment Partners and related matters.

08/23/06 L. Ernce Initial review of debtors’ July 2006 Ioan
summary, exchange emails with M.
Tucker re same and upload to Diversified
Committee website.

08/28/06 L. Ernce Review M. Tucker and C. Harvick emails
to debtors re computer records and paper
records for purposes of gathering
information on Diversified loans and
assets.

08/28/06 L. Ernce Telephone conference with M. Levinson
and M. Tucker re status of meetings with
J. Milanowski and related matters.

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0.40 228.00
0.30 171.00
0.40 228.00
0.50 285.00
0.40 228.00
0.10 46.50
0.20 93.00
0.20 93.00
0.10 46.50
0.30 139.50
0.10 46.50
0.40 186.00
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08/28/06 L. Ernce Telephone conference with M. Levinson
and M. Tucker re issues related to today’s
planned meetings with J. Milanowski and
weekly conference call with debtors and
other committees re plan alternatives.

08/28/06 J. Hermann Travel from Las Vegas and further
consideration and analysis of issues and
strategies for dealing with assets of
Investment Partners and collection
therefrom of loans in favor of USACM
and Diversified Fund.

08/28/06 J. Hermann Meeting with J. Milanowski, his counsel,
Debtors representatives and M. Tucker
and C. Harvick re numerous asset
recovery issues.

08/29/06 M. Levinson Telephone conversation with M. Tucker
and J. Hermann re next steps in compiling
information about and collecting various
of the Diversified Fund loans.

08/29/06 L. Ernce Review emails from C. Harvick and M.
Tucker re recent news articles and
potential meeting with D. Fogg.

08/31/06 L. Ernce Review email report from J. Hermann re
today’s meeting with J. Milanowski and
next steps.

B120 — Asset Analysis and Recovery Total
Task B130— Asset Disposition & Sales

08/20/06 L. Ernce Review email from M. Levinson re list of
potential Diversified Fund loans for sale
or servicing and re status of wish list for
Investment Partners documents.

08/25/06 J. Hermann Review and analysis of asset sale
proposals and attendant email traffic.
08/28/06 J. Hermann Review and analysis of terms of multiple

asset sale offers and multiple conferences
with M. Tucker and C. Harvick re issues
in connection with the same.

08/29/06 J. Hermann Participate in conference call with
representatives of USACM unsecured
creditors committee regarding various
asset purchase proposals, further
negotiations with respect to the same and
related topics.

September 22, 2006
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0.20 93.00
2.50 1,425.00
0.60 342.00
0.20 112.00
0.10 46.50
0.10 46.50
7.20 3,902.50
0.10 46.50
1.30 741.00
1.60 912.00
1.10 627.00
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08/29/06

J. Hermann

September 22, 2006

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Participate in series of five telephone 1.20
conferences all involving M. Levinson and

M. Tucker, and also involving

representatives of potential asset

purchasers regarding strategy for further

negotiations and actual negotiations for

treatment of Diversified Fund in any asset

sale and numerous related topics.

B130 — Asset Disposition & Sales Total 5.30

Task BI52 — Meetings & Communications with other Committees

08/03/06 M. Levinson

08/03/06

J. Hermann

Exchange of numerous email memoranda 2.90
with professionals for the four committees
re setting up a conference call to discuss
next steps toward establishing a plan
process in light of the A. Jarvis email
memorandum of late last night (.20);
telephone conversation with G. Gordon re
the same (.20); review a series of email
memoranda among the various financial
advisors re a possible financial advisor
dinner meeting tonight (.10); participate in
the all-committee conference call from the
Las Vegas office of Lewis & Roca (.50);
telephone conversation with C. Carlyon,
S. Freeman, R. Charles, J. Hermann and
others re C. Carlyon’s call with L.
Schwartzer re setting up a meeting to
discuss plan proposal procedures (.20);
review S. Freeman email memorandum to
A. Jarvis sent on behalf of the four
committees (.10); long follow-up
conference call among professionals for
the four committees (1.40); exchange a
series of email memoranda re the all-
hands meeting tonight (.20).

Participate in exchange of email 2.90
correspondence regarding meeting of all
committees and conference call to discuss
issues outstanding among all committees
(.50); follow up conference call regarding
the same (1.50); participate in discussions
with unsecured creditor committee
representatives regarding the same (.90).

684.00

3,010.50

1,624.00

1,653.00
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Official Committee of Equity Security Holders of USA Capital Diversified

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08/05/06 M. Levinson

08/06/06 M. Levinson

08/07/06 M. Levinson

08/08/06 M. Levinson

08/09/06 M. Levinson

08/11/06 M. Levinson

08/12/06 M. Levinson

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Review C. Pajak email memorandum re 0.20
the upcoming all-committees meeting,

review R. Charles response thereto,

respond to C. Pajak and exchange brief

follow-up email memoranda with R.

Charles.

Email memorandum to professionals for 0.10
other committees confirming R. Worthen’s

attendance at the August 8th all-hands

meeting and review G. Gordon email

memorandum re his attendance.

Begin preparing for tomorrow’s all-hands 0.30
meeting in Los Angeles.
Travel to Burbank for meeting with the 6.70

debtors and with representatives of all
committees, and at the airport and en route
review S. Freeman, C. Carlyon and A.
Jarvis email memoranda re the plan
process, review plan proposals and other
materials in preparation for the meeting
and telephone conversation with L. Ernce
re the same and re next steps (2.50); attend
the all-hands meeting, during which plan
and sale protocols, plan proposals and
other matters are discussed (4.20).

Travel from Los Angeles to Sacramento, 2.50
returning from yesterday’s all-hands
meeting, and, at the Los Angeles airport
and en route, review notes of the meeting
and analysis re next steps.

Telephone conversation with C. Pajak and 0.40
M. Kvarda re numerous case status

matters including the Mesirow fee
statement, plan discussions status and the
status of the $9 million prepetition
collections (.20); lengthy email
memorandum to R. Charles re the status of
the possible dispute over the distribution
of the $9 million collected prior to the
petition date and re possibly meeting in
Las Vegas next week to discuss plan and
other exit alternatives (.20).

Exchange follow-up email memoranda 0.20
with R. Charles re possibly meeting in Las
Vegas next week to discuss plan and exit
strategy, review R. Charles suggested
additions to the agenda for the August
14th all-hands call and analysis regarding
the agenda.

112.00

56.00

168.00

3,752.00

1,400.00

224.00

112,00
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08/13/06 M. Levinson Exchange more follow-up email
memoranda with R. Charles re the
possible meeting in Las Vegas on August
15th.

08/14/06 M. Levinson Long all-hands conference call with all
committees and the debtors re plan issues
and next steps (.90); follow-up
conversation with S. Freeman (.10).

08/14/06 L. Ernce Attend weekly all-hands conference call
with debtors and other committees.

08/15/06 L. Ernce Review M. Kvarda email re information
needed for resolution of $8.9 million
accounting issue (.10); conferences with
M. Levinson re same (.10); email to A.
Loraditch re the issue has been resolved
and will not be on tomorrow’s calendar

except for a status report to the court (.10).

08/16/06 M. Levinson Lengthy email memorandum to A. Jarvis
and to professionals for all committees re
a possible all-hands meeting to discuss
plan and other issues for tomorrow (.10);
participate in a chain of follow-up emails
to and from various committee
professionals, culminating in mine to all
professionals confirming the time and
place of the meeting (.20).

08/17/06 M. Levinson Meeting of all four committees, including
committee chairs and professionals, and
the debtors at Gordon & Silver in Las
Vegas during which we discuss plan
proponents and plan issues, the
distribution motion and other topics
(3.50); follow-up conversations with R.
Charles and L. Ernce re the same and re
next steps (30).

08/17/06 L. Ernce Attend all-hands meeting with debtors,
committee chairs and committee
professionals at Gordon & Silver
regarding various matters including
alternative plan proposals and the
distribution motion (3.50); conference
with M. Levinson and R. Charles re
thoughts and next steps following all-
hands meeting (.30).

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0.10 56.00
1.00 560.00
0.90 418.50
0.30 139.50
0.30 168.00
3.80 2,128.00
3.80 1,767.00
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08/21/06 M. Levinson Review a number of email memoranda
from various committee counsel re the
upcoming all-hands call (.10); telephone
conversation with R. Charles re this
morning’s meeting of the USACM
committee, re 10-90 and Investment
Partners issues, re case administration
matters and re plan developments (.20).

08/23/06 M. Levinson Long conference call among the debtors
and all four committees re distribution,
plan, loan collection, ordinary course
professionals, and other topics (1.30); long
conversation with R. Charles re the call
with R. Walker, re plan issues,
administrative expenses and other topics

(.50).

08/23/06 L. Ernce Participate in weekly all-hands call with
debtors and other committees.

08/24/06 M. Levinson Very long telephone conversation with E.

Karasik re the draft plan term sheet she
provided, re other plan issues, re the
Investment Partners discussions, re interim
fee applications, re exclusivity and re
many other topics (.70); long telephone
conversation with R. Charles re the
foregoing issues and other issues (.30).

08/27/06 L. Ernce Email to C. Pajak re corrections on
Diversified Committee information
contained on First Trust Deed Fund
Committee’s website.

08/28/06 M. Levinson Review prior email memoranda and
documents in preparation for the
upcoming all-hands conference call (.20);
long conference call among professionals
for the debtors and for all committees re
plan and related issues (1.10).

08/28/06 L. Ernce Attend weekly all-hands conference call
with debtors and other committees re plan
alternatives and other issues.

08/29/06 M. Levinson Long conference call with R. Worthen and
professionals for the USACM Unsecured
Creditors Committee and the Diversified
Committee re plan, Investment Partners
and other issues (1.00); long conference
call among the debtors and all committees
re plan issues and proposals (.90); follow-
up conference call among the debtors and
all committees (.80).

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0.30 168.00
1.80 1,008.00
1.30 604.50
1.00 560.00
0.10 46.50
1.30 728.00
1.10 511.50
2.70 1,512.00
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08/29/06 L. Ernce Participate in weekly all-hands conference 1.90 883.50
call (1.10); follow-up all-hands call (.80).
08/30/06 M. Levinson All-hands conference call among the 2.10 ° 1,176.00
debtors and the committees re the form of
order approving monthly distributions, re
possible surcharge of direct lenders in
order to fund their committee, re plan and
other issues (1.20); another all-hands
conference call among the debtors and the
committees re the foregoing and other
matters, including an extension of
exclusivity, selecting a plan proponent
(.90).
08/31/06 M. Levinson Confer with S. Freeman, T. Burr and C. 5.40 3,024.00

Harvick re plan, term sheet, sale and other
matters (.70); meeting at Gordon & Silver
with professionals from all four
committees, with M. Tucker by phone for
part, re plan term sheets, the proposals
from Plan Proponent Nos. | and 2 and
related plan, case status, litigation and
other matters (4.30); follow-up
conversation with S. Freeman, T. Burr and
C. Harvick (.20); follow-up conversation
with E. Karasik and M. Kvarda (.20),

B1I52 — Meetings & Communications with other Committees Total 45,40 24,560.00

Task B153 — Meetings & Communications with the Committee or members of the Committee

08/01/06 M. Levinson Substantive voicemail message from R. 0.20 112.00
Worthen re possible pre-filing sale of
assets by insiders of the debtors and
telephone conversation with M. Tucker re
the same and re his responding to R.
Worthen.

08/05/06 M. Levinson Exchange a number of email memoranda 0.10 56.00
with R. Worthen re the upcoming all-

hands plan meeting.

08/07/06 M. Levinson Exchange email memoranda with R. 0.10 56.00
Worthen and C. Harvick re tomorrow’s
meetings in Los Angeles.
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08/08/06 M. Levinson Conference with R. Worthen re status, 3.20 1,792.00
plan and other issues during our ride from
the Burbank airport to the all-hands
meeting in Century City and during the
business portion of our luncheon (with T.
Burr and C. Harvick, for part) (1.20);
follow-up and next-steps discussions with
R. Worthen and C. Harvick thereafter,
including during the business portion of
dinner, and including during a long
telephone conversation with M. Tucker on
the phone with R. Worthen and C. Harvick
(2.00).
08/08/06 L. Ernce Review email from T. Lawyer forwarding 0.10 46.50
communications from chat room for
discussion at next committee meeting and
email to M. Levinson re same.
08/09/06 M. Levinson Discussions with R. Worthen and C. 0.70 392.00
Harvick re today’s meetings with R.
Ashby, L. Redman and others and re next
steps in the plan process.
08/09/06 M. Levinson Telephone conversation with L. Ernce re 0.20 112.00
setting up a Diversified Committee call for
August 10th, and review the L. Ernce
email memorandum to members of the
Diversified Committee re the same.
08/09/06 .L. Ernce Exchange emails with S. Katz and T. 0.30 139.50
Lawyer re next committee meeting (.10);
email to Diversified Committee to set up
meeting for tomorrow afternoon (.10);
review various responses (.10).
08/10/06 M. Levinson Telephone conversation with R. Worthen, 3.00 1,680.00
M. Tucker and C. Harvick in preparation
for the Diversified Committee call and re
the August 8 and August 9 meetings (.90);
very long Diversified Committee
conference call re the all-committee and
the Fiesta/Redman/Ashby meetings in Los
Angeles (1.80); telephone conversation
with M. Schmahl re the foregoing and re
next steps (.30).
08/10/06 L. Ernce Review email from S. Katz re topics for 1.90 883.50
today’s Diversified Committee meeting
(.10); attend Diversified Committee
meeting (1.80).
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08/11/06 M. Levinson Voicemail message from A. Loraditch re 0.60 336.00
the removal of a Diversified Committee
member early in the case, email
memorandum to her re communicating
with him and review her responsive email
memorandum (.20); long telephone
conversation with M. Schmahl re the
August 8th all-hands meeting, yesterday’s
Diversified Committee meeting and next
steps (.40).
08/14/06 M. Levinson Email memorandum to R. Worthen re next 0.50 280.00

steps in light of the just-completed all
hands call, including upcoming meetings
in Las Vegas (.10); telephone conversation
with R. Worthen re the same and re next
steps (.20); exchange of email memoranda
with C. Harvick re the materials he is
preparing for the Diversified Committee
meeting (.10); review A. Loraditch email
memorandum to the Diversified
Committee re the August 16 meeting in
Las Vegas (.10).
08/15/06 M. Levinson Review lengthy J. McGimsey email 0.10 56.00
memorandum re his thoughts on next steps
toward a plan or litigation.
08/16/06 M. Levinson Telephone conversation with M. Schmahl 5.20 2,912.00
re the upcoming Diversified Committee
meeting (.20); review pleadings,
documents and email memoranda, various
conferences with M. Tucker, C. Harvick,
B. Olson, A. Loraditch and L. Ernce and
otherwise prepare for the meeting (.50);
email memorandum to S. Katz re and
issues that will be discussed at the
upcoming meeting (.10); attend the
Diversified Committee meeting at Beckley
in Las Vegas, with M. Schmahl and S.
Katz (for part) joining by phone (4.40).
08/16/06 L. Ernce Conferences with Diversified Committee 5.00 2,325.00
professionals in advance of today’s
committee meeting (.50); review J.
McGimsey email memo re his thoughts
(.10); attend meeting of Diversified
Committee (4.40).
08/19/06 M. Levinson Email memorandum to L. Ernce re 0.10 56.00
moving the August 22nd Diversified
Committee call in light of my trip to Salt
Lake City to meet with J. Milanowski’s
counsel.
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08/21/06 M. Levinson Review L. Ernce email memorandum to
Diversified Committee members re
postponing tomorrow’s conference call
and re the reasons for doing so.

08/21/06 L. Ernce Email to Diversified Committee re status,
upcoming events, and moving committee
meeting to tomorrow afternoon.

08/22/06 M. Levinson Email memorandum to R. Worthen re
today’s meeting with R. Walker and A.
Jarvis and re next steps.

08/23/06 M. Levinson Long conference call/meeting of the
Diversified Committee (.80); draft, revise
and finalize lengthy email memorandum
to the Diversified Committee and its
professionals re this afternoon’s call with
A. Jarvis and R. Walker and re next steps
in collecting the 10-90 loan (.30).

08/23/06 L. Ernce Participate in Diversified Committee
conference call.
08/23/06 L. Ernce Email memo to Diversified Committee re

next committee meeting (.10); review M.
Levinson email report to Diversified
Committee re his conference call with
counsel for J. Milanowski (.10).

08/24/06 M. Levinson Telephone conversation with M. Schmahl
re a number of status and strategic issues.
08/28/06 M. Levinson Conference with M. Schmahl re case

status, plan and Investment Partners issues
and follow-up conference with M.
Schmahl following the all-hands
conference call (.30); conference with R.
Mason re case status, plan and other
matters (.10); exchange of email
memoranda with R. Worthen re his
participating in tomorrow’s all-hands and
other calls re plan issues (.10).

08/29/06 M. Levinson Diversified Committee conference call.

08/29/06 L. Ernce Participate in Diversified Committee
conference call.

08/29/06 J. Hermann Participate in conference call with

Diversified committee members regarding
recent events and ongoing negotiations.

08/30/06 M. Levinson Exchange email memoranda with R.
Worthen re tomorrow’s hearing and
meetings.

B153 — Meetings & Communications with the Committee or members of the
Committee Total

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0.10 56.00
0.10 46.50
0.10 56.00
1.10 616.00
0.80 372.00
0.20 93.00
0.20 112.00
0.50 280.00
0.40 224.00
0.40 186.00
0.40 228.00
0.10 56.00

25.70 13,560.00
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Task BI54 — Meetings & Communications with the Creditors or Equity holders

08/01/06 K. Neureiter Review email from L. Ernce regarding
adding link to Diversified Committee’s
website; draft email to A. Loraditch and
G. Kruse requesting addition of link.

03/01/06 K. Neureiter Review and respond to various emails
from L. Ernce with instructions how to
add June statement to website.

08/01/06 K. Neureiter Review email from J. Bartlett regarding
question for website and forward email to
M. Tucker.

08/01/06 K. Neureiter Review committee website to ensure
requested changes made.

08/01/06 M. Levinson Long telephone conversation with DTDF

investor, R. Sharpe re the distribution
motion, plan issues and other matters
(.30); revise and finalize the response to
DTDF investor, P. McKnight after
reviewing J. Hermann’s comments to the
draft (.20); telephone conversation with C.
Harvick re posting investor statements on
the DTDF website (.10); long telephone
conversation with investor T. Desio (.20).

08/01/06 L. Ernce Review emails from K. Neureiter re
updates to Diversified Committee website
and related matters; emails to K. Neureiter
re adding new loan status reports to
website.

08/02/06 M. Levinson Review the D. Cangelosi email
memorandum to investors seeking
hardship stories and email memorandum
to the DTDF professionals re the same.

08/05/06 M. Levinson Review D. Cangelosi email memorandum

to investors re yesterday’s hearings and
next steps, review lengthy correspondence
to Judge Riegle from investor L. Fetterly
and exchange follow-up email memoranda
with L. Ernce re the same.

08/06/06 M. Levinson Exchange email memoranda with DTDF
investors, the Spanglers.
08/07/06 M. Levinson Telephone conversation with Diversified

Fund investors M. and S. Palmer
background and re next steps (.20);
telephone conversation with S, Jensen, the
daughter-in-law of Diversified Fund
investor L. Webb re the same (.30); brief
telephone conversation with B. Jensen re
the same (.10).

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0.20 75.00
0.20 75.00
0.10 37.50
0.10 37.50
0.80 448.00
0.20 93.00
0.10 56.00
0.20 112.00
0.10 56.00
0.60 336.00
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08/08/06 M. Levinson

08/08/06 L. Ernce

08/08/06 L. Ernce

08/09/06 L. Ernce

08/10/06 M. Levinson

08/11/06 M. Levinson

08/11/06 L. Ernce

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Exchange of email memoranda with B. 0.10
Olson re responding to inquiries from
investors in the Diversified Fund.

Telephone conference with investor M. 0.10
Jolly re his questions about Diversified

Trust Deed Fund.

Review exchange of emails among 0.30

Diversified professionals re increasing
frequency of communications from
investors and dealing with same (.10);
review C. Carlyon email re topic was
raised at court hearing this morning as
well and review draft committee contact
information sheet for use by court along
with court’s form letters (.10); email to M.
Levinson re my comments to contact
information sheet (.10).

Review A. Loraditch email with initial 0.30
response to inquiries by investor and email
various information to A. Loraditch for
purposes of her final response (.20);
review final response from A. Loraditch to
investor (.10).

Telephone conversation with DTDF 0.30
investor, P. Sindler (.20); review email
memoranda from various DTDF investors
(.10).

Long telephone conversation with 0.40
Diversified Trust investor C. Taylor (.30);
review a number of L. Ernce email
memoranda to DTDF investors and one to
a First Trust investor who thought he was
a DTDF investor (.10).

Exchange emails with A. Loraditch re 1.00
response to emailed inquiry from investor
Pappas and review A. Loraditch email
response to investor Pappas (.20);
telephone conference with investor E,
Johnston (.20); email memo to investor E.
Johnston providing additional information
re Diversified Committee website and
related matters (.10); telephone conference
with investors Mr. and Mrs. Cadieux (.30);
email memo to investors Cadieux
providing additional information re
Diversified Committee website and related
matters (.10); review and respond to email
inquiry from investor M. Floyd (.10).

56.00

46.50

139.50

139.50

168.00

224.00

465.00
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08/13/06 M. Levinson Review and respond to email
memorandum from DTDF investors, the
Spanglers.

08/13/06 L. Ernce Review emails from M. Levinson
forwarding inquiries from Diversified
Fund investors.

08/14/06 M. Levinson Review a number of L. Ernce email
memoranda to various DTDF investors.

08/14/06 L. Ernce Telephone conference with Diversified

investor C. Bilieux (.30); telephone
conference with Diversified investor J.
Stalder (.10).

08/14/06 L. Ernce Review and draft response to emailed
questions from investor L. Allman re
Diversified Fund (.10); review and
respond to emailed inquiries from investor
J. Wise (.10).

08/14/06 L. Ernce Review email inquiries from investor K.
Miller and draft emails to C. Harvick re
same for assistance with response.

08/15/06 L. Ernce Review and respond to inquiry from
investor Sullivan.

08/17/06 L. Ernce Exchange emails with C. Harvick re draft
responses to investor inquiries.

08/18/06 M. Levinson Telephone conversation with DTDF
investor P. Sindler.

08/18/06 L. Ernce Review and respond to email inquiry from

investor G, Watkins (.10); telephone call
from investor J. Palmer re case status and
his questions (.20); email memo to S.
Smith at Mesirow re obtaining certain
information for investor J. Palmer and
email to J. Palmer re same (.10).

08/18/06 L. Ernce Review email from S. Katz forwarding D.
Cangelosi theories (.10); draft letter to R.
Worthen re Orrick’s invoice for June 2006

(.10).
08/18/06 L. Ernce Email to M. Levinson re responding to
investor P. Sindler re website information.
08/20/06 M. Levinson Review the email memorandum from

investor K. Miller and the draft C. Harvick
response thereto, and revise the draft
response and forward it to C. Harvick
(.20); review K. Miller inquiry re
prepetition payments and the C. Harvick
email memorandum re the same, and send
a follow-up email memorandum to C.
Harvick re recommended next steps (.20).

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0.10 56.00
0.10 46.50
0.10 56.00
0.40 186.00
0.20 93.00
0.10 46.50
0.10 46.50
0.10 46.50
0.20 112.00
0.40 186.00
0.20 93.00
0.10 46.50
0.40 224.00
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08/20/06 L. Ernce Review exchange of emails re responding 0.10 46.50

to investor inquiry from K. Miller and
other issues for follow-up.
08/21/06 M. Levinson Review email memorandum to DTDF 0.30 168.00
investor A. Olsen re pursuing principals,
Investment Partners and avoidance actions
(.10); telephone conversation with L.
Ernce re responding to the same and
review and revise her draft response to A.
Olsen (.10); review the final version
thereof and send it to the DTDF
professionals under cover of an email
memorandum (.10).
08/21/06 L. Ernce Review email from investor A. Olsen 0.30 139.50
(.10); conference with M. Levinson re
response to same (.10); email memo to A.
Olsen responding to inquiries (.10).
08/21/06 L. Ernce Email memo to S. Smith at Mesirow 0.10 46.50
following up on information re investor J.
Palmer; review C. Harvick email memo to
investor K. Miller.
08/22/06 L. Ernce Attention to updating Diversified 0,20 93.00
Committee’s website with debtors’ July
2006 monthly operating reports and other
information.
08/23/06 M. Levinson Telephone conversation with Diversified 0.20 112.00
Fund investor R. Sharpe (.10); review L.
Ernce and C. Harvick email memoranda to
certain Diversified Fund investors (.10).
08/23/06 L. Ernce Review and draft responses to email 0.40 186,00
inquiries from investors Campbell,
Adlington and Jensen.

08/23/06 L. Ernce Follow-up with Mesirow re questions by 0.10 46.50
investor J. Palmer and email to J. Palmer
re status.

08/24/06 M. Levinson Review email memorandum from 0.30 168.00
: Diversified Trust investor Miller and
conference with L. Ernce re responding
thereto (.10); telephone conversation with
Diversified Trust investor R. Sharpe (.10);
review draft L. Ernce email memorandum
to Miller, revise the same and review the
version sent to Miller (.10).
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08/24/06 L. Ernce Review email from C. Harvick at FTI to 0.50 232.50
investor K, Miller in response to certain
inquiries; review email from C. Harvick re
additional questions from investor K.
Miller and telephone conference with C.
Harvick re same (.20); conference with M.
Levinson re same and related matters
(.10); draft email memo to investor K.
Miller providing information in response
to her various questions (.20).

08/24/06 L. Ermce Review C. Harvick email and proposed 0.10 46.50
response to inquiries of investor K. Miller.

08/25/06 M. Levinson Review lengthy L. Ermce email ~ 0.10 56.00
memorandum to Diversified Fund investor
B. Stiles.

08/25/06 L. Ernce Review and respond to email inquiries 0.10 46.50
from investor B. Stiles.

08/27/06 M. Levinson Review lengthy L. Ernce email 0.20 112.00
memoranda to First Trust investor B.
Wilkinson and to Diversified Fund
investors W. Dougherty and M.
Hallerman.

08/27/06 L. Ermce Review and respond to two email inquiries 0.30 139.50
from investor M. Hallerman.

08/27/06 L. Ernce Review and respond to email inquiry from 0.10 46.50

. investor B. Wilkinson.

08/27/06 L. Ernce Review and respond to email inquiry from 0.10 46.50
investor W. Dougherty.

08/28/06 M. Levinson Review the email memorandum from 0.30 168.00
Diversified investor M. Bowman and
exchange follow-up email memoranda
with L. Ernce re responding to and
following up on issues raised therein (.20);
review email memorandum from
Diversified investor A. Kassebaum and
the L. Ernce response thereto (.10).

08/28/06 L. Ernce Exchange emails with A. Parlen re 0.10 46.50
response to questions from investor B.
Wilkerson and review A. Parlen email to
B. Wilkerson re same.

08/28/06 L. Ernce Review voicemail from investor A. 0.20 93.00
Kassebaum and draft email memo to A.
Kassebaum responding to his questions
(.10); telephone conference with A.
Kassebaum re same (.10).

08/28/06 L. Ernce Review and respond to email from 0.10 46.50
investor C. Bolding re Diversified
Committee website.
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08/28/06

08/29/06

08/29/06

08/29/06

08/29/06

08/30/06

08/30/06

08/30/06

08/30/06

08/30/06

L. Ernce

M. Levinson

L. Ernce

L. Ernce

L. Ernce

L. Ernce

L. Ernce

L. Ernce

L. Ernce

M. Levinson

Review email from investor re her
concerns based on receiving predictions
from various attorneys that Diversified
Fund investors will not recover; emails
and telephone conference with M.
Levinson re same.

Review lengthy letter from Diversified
investor, C. Clark and forward the same to
R. Worthen and the Diversified
professionals, and review L. Ernce email
memorandum to Diversified investor, J.
Palmer.

Email memo to investor J. Palmer re
results of inquiry into status matters.
Telephone call from investor C.
Cooperman re her various questions; email
to C. Cooperman providing information
on Diversified Committee website.
Review letter from investor C. Clark and
exchange emails with Diversified
professionals re same.

Review email from investor M. Plevel re
status of her investment; review
Diversified Fund investor list; email to M.
Plevel re she is not on the list and seeking
additional information; review additional
name information provided and re-review
Diversified Fund investor list.

Telephone conference with investor K.
Woltz (.20); draft email memo to K. Woltz
following up on telephone conversation
and providing website information (.10).
Email memo to investor M. Bowman
responding to her various inquiries and
seeking additional information.

Review email and summary of Diversified
loans from C. Harvick and exchange
emails with C. Harvick re status of receipt
of individual loan reports from debtors
(.20); attention to updating Diversified
Committee website with loan summary,
August 3] hearing agenda and other
information (.10).

Review lengthy L. Ernce follow-up email
memorandum to Diversified Fund investor
M. Bowman.

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0.20

0.20

0.10

0.20

0.10

0.20

0.30

0.20

0.30

0.10

93.00

112.00

46.50

93.00

46.50

93.00

139,50

93,00

139.50

56.00
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08/31/06 L. Ernce Exchange further emails with investor M.
Plevel re status of her investments and
exchange emails with S. Smith at Mesirow
re same.

08/31/06 L. Ernce Exchange emails with M. Levinson re

email from investor A. Olsen.

08/31/06 L. Ernce Review and respond to email inquiry from
investor B. Jensen.

08/31/06 M. Levinson Review email memorandum from

Diversified Trust investor, A. Olsen, and
review and respond to L. Ernce email
memorandum re the same.

B154 — Meetings & Communications with the Creditors or Equity holders
Total

Task B160 — Fee/Employment Applications

08/02/06 M. Levinson Portion of a long telephone conversation
with M. Tucker related to the proposed
employment of Sierra Consultants.

08/07/06 M. Levinson Attention to June time sheets in
connection with preparing Orrick’s June
2006 monthly fee statement.

08/08/06 K. Neureiter Review message from M. Levinson
regarding status of July prebill and confer
with R. Barainca.

08/08/06 M. Levinson Review the draft order re continuing
retention of the debtors’ attorneys and
financial advisor and email A. Loraditch
and B. Olson re next steps with respect to
the same (.10); lengthy email
memorandum to L. Ernce re the Knudsen
procedure for June discussed at today’s all-
hands meeting (.10).

08/08/06 L. Ernce Review email and telephone conference
with M. Levinson re reviewing Orrick’s
bill for June and circulation of monthly fee
statement on August 11.

08/08/06 L. Ernce Review proposed form of order approving
continued employment of debtors’
professionals.

08/09/06 K. Neureiter Review local rules fee procedures.

08/09/06 K. Neureiter Call with L. Ernce re monthly fee
statement.

08/09/06 K. Neureiter Review PACER and pull and review

Application for Administrative Order

Establishing Compensation Procedures.
08/09/06 = -K. Neureiter Draft and send email to L. Ernce re

monthly fee statement procedures.

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0.20

0.10

0.10

0.10

14.20

0.10

2.20

0.10

0.20

0.20

0.10

0.40

0.10

0.40

0.20

93.00

46.50
46.50

56.00

7,043.00

56.00

1,232.00

37.50

112.00

93.00

46.50
150.00
37.50

150.00

75.00
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08/09/06 K. Neureiter

08/09/06 K. Neureiter

08/09/06 L. Ernce

08/10/06

08/10/06

08/10/06
08/10/06

08/10/06

08/10/06

08/10/06

wn

Neureiter

Neureiter

Neureiter
Neureiter

. Neureiter

. Levinson

. Levinson

Review various applicable
pleadings/responses and modify monthly
fee statement.

Review various emails forwarded by L.
Ernce regarding June billing statements.
Emails and telephone conferences with K.
Neureiter re preparing form of monthly
fee statement for use under interim fee
procedures and related issues (.30); review
sample form from Beckley Singleton and
further discussion with K. Neureiter re
modification for purposes of this case
(.20); exchange emails with K. Neureiter
re same (.20); review and revise Orrick
prebill to comply with task billing
requirements, among other requirements
(2.50); emails and telephone conference
with A. Loraditch re logistics for
circulating our firms’ monthly statements
(.20); email memo to M. Levinson re
status of bill review and next steps (.10);
email to billing coordinator re
modifications to bill (.10),

Review email from L. Ernce with
instructions to review FTDF’s form of
monthly statement.

Review email from L. Ernce regarding
procedures for June’s monthly fee
statement and responses thereto.

Continue draft of monthly fee statement.
Review various emails from L. Ernce
regarding status of monthly fee statement
and respond.

Confer with L. Ernce re revised
procedures for June’s monthly fee
statement.

Review the Sierra Consulting employment
order and various email memoranda re the
same, sign the form of order and email the
same to R. Charles and various other
counsel.

Further attention to the June 2006 Orrick
monthly fee statement.

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1.90 712.50
0.20 75.00
3.70 1,720.50
0.10 37.50
0.20 75.00
1.50 562.50
0.20 75.00
0.10 37.50
0.20 112.00
0.30 168.00
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08/10/06 L. Ernce Continue reviewing and reviewing Orrick 3.40 1,581.00

pre-bill for June 2006 and attention to
other matters in advance of tomorrow’s
informal distribution (2.60); telephone
conferences and emails with K. Neureiter
re same (.30); telephone conference with
C. Pajak re procedures for tomorrow’s
informal distribution of June 2006
invoices and email to all debtors’ and
committee counsel re same (.30);
exchange emails with C. Pajak re form of
monthly fee statement for future forma]
procedure (.10); exchange emails with S.
Strong re procedures for tomorrow (.10).

08/11/06 M. Levinson Further attention to the June 2006 Orrick 1.50 840.00
fee statement and finalizing the same
(1.20); email memorandum to debtors’
counsel and committee counsel re the
Orrick monthly fee statement (.10); review
email memoranda covering the
submissions from the other estate
professionals covering their submissions
(.20).

08/11/06 = L. Ernce Telephone conference with K. Neureiter re 3.30 1,534.50
form of monthly fee statement (.10);
telephone conference with M. Levinson re
same (.10); continue working to revise and
finalize Orrick’s invoice for June 2006 for
purposes of today’s informal circulation
among debtors’ and committee
professionals (2.20); review M. Levinson
email transmitting finalized June invoice
to debtors’ and committee professionals
(.10); receive and initial review of June
invoices from debtors’ and committee
professionals and emails with M.
Levinson re same (.90).

08/11/06 L. Ernce Review and comment upon draft of 0.40 186.00
second supplemental Levinson declaration
and review A. Loraditch comments to
same (.20); exchange emails with M.
Levinson re finalizing and filing of second
supplemental declaration (.10); review
order granting application to employ
debtors’ professionals (.10).

08/12/06 M. Levinson Exchange email memoranda with R. 0.10 56.00
Charles re the status of the June fee
submission by FTI.
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08/14/06 M. Levinson

08/18/06 L. Ernce

08/21/06 M. Levinson

08/21/06 M. Levinson

08/21/06 L. Ernce

08/21/06 L. Ernce

08/22/06 M. Levinson

08/22/06 L. Ernce

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Exchange email memoranda with C. Pajak 0.10
re the status of the FTI June statement.
Conference with M. Levinson re 0.20

preparation of monthly statement and fee
application for Orrick; follow-up re status
of July prebill and related matters.

Attention to the July 2006 Orrick fee 1,20
statement.
Telephone conversation with L. Ernce re 0.20

the timing for circulation July statements

to other professionals, review her email to
estate-employed professionals re the same

and review R. Charles response thereto.

Telephone conference with B. Olson and 0.20
A. Loraditch re monthly fee statement

procedure and logistics.

Begin detailed review and edit of Orrick 1.70
prebill (1.40); conference with M.

Levinson re distributions of monthly fee

statements later this week and email to

counsel for debtors and other committees

re same (.20); email memo to A. Loraditch

with questions about Nevada practice for

certain expenses for fee application

purposes and review A. Loraditch

response (.10).

Initial review of the proposed interim fee 0.40
procedures order and email L. Ernce re my

comments thereto and re next steps (.20);

exchange brief follow-up email

memoranda with L. Ernce re additional

issues relating to the order (.10); review L.

Ernce responsive email containing her

thoughts on the draft order and review her

email memorandum to all counsel re the

same (.10).

Revise form of monthly fee statement 3.30
(.30); email memo to B. Olson and A.

Loraditch re same (.10); exchange emails

with M. Levinson re rates to charge for

certain expenses for purposes of Orrick’s

fee application and invoices (.10); review

and substantial additional revisions to

Orrick prebills (2.40); email to billing

coordinator re same and modifying

expense rates (.10); begin reviewing next

version of prebill (.30).

56.00

93.00

672.00

112.00

93.00

790.50

224.00

1,534.50
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08/22/06 L. Ernce Review draft interim fee procedures order
(.10); exchange emails with M. Levinson
re same (.10); review emails re comments
to order by others (.10).

08/23/06 L. Ernce Review draft proposed protocols for
monthly interim distributions to direct
lenders and exchange voicemails with M.
Levinson re my comments to same.

08/23/06 L. Ernce Telephone conference with A. Loraditch
re format of monthly fee statement (.10);
review Beckley Singleton’s draft monthly
fee statement and A. Loraditch email re
same (.10).

08/23/06 L. Ernce Review email from A. Loraditch and form
of fee application for use in Nevada
bankruptcy court; email to M. Levinson re
same (.20); review and revise next version
of Orrick’s prebill for June and July in
preparation for circulating monthly fee
statement (1.60); email memo to M.
Levinson re status and next steps (.10).

08/24/06 M. Levinson Review the draft monthly fee statement
for Orrick’s June and July invoices and
telephone conversation with L. Ernce re
the same (.20); further review of the same,
interlineate comments, and discuss the
same and next steps with L. Ernce (.20);
review L. Ernce email memorandum to all
hands re circulating the fee statements and
the R. Charles, A. Jarvis, G. Garman and
C. Pajak responses thereto (.20); further
attention to the July Orrick billing
statement (1.20); review the long chain of
C. Carlyon and L. Ernce email
memoranda re next steps with respect to
the billing statements and review the S.
Strong email memorandum re the same
(.20); review and interlineate comments to
the next and near-final draft of the Orrick
fee statement and conference with L.
Ernce re my comments thereto (.20);
review follow-up email memoranda from
A. Jarvis, C. Carlyon, E. Karasik and L.
Schwartzer re circulating the billing
statements (.10).

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0.30 139.50
0.20 93.00
0.20 93.00
1.90 883.50
2,30 1,288.00
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08/24/06 L. Ernce Continue reviewing and revising Orrick 3.80 1,767.00

prebill and conferences with M. Levinson
re same (1.20); further revisions to draft
form of monthly fee statement and email
to A. Loraditch re same (.20); conference
with M. Levinson re logistic matters
related to service of monthly fee
statements (.10); email to counsel for
debtors and other committees re same
(.10); exchange series of emails with C.
Carlyon re same (.20); review and revise
monthly fee statement based on comments
from M. Levinson and email to A.
Loraditch re same; email to C. Harvick
and M. Tucker re form of monthly fee
statement for FTI’s use (.20); continue
revising Orrick’s draft monthly fee
statement and attention to creating exhibits
(1.20); review Beckley Singleton’s
monthly fee statement and email to M.
Levinson re same (.20); finalize next
version of monthly fee statement and
exhibits and email all to M. Levinson for
review (.40); telephone conference with
M. Levinson and email to S. Vucelick
requesting calculation of written off
amounts (.10); review emails from A.
Jarvis and L. Schwartzer re monthly fee
statement procedures (.10).

08/25/06 L. Ernce Exchange emails with M, Levinson re 2.10 976.50
amounts written off by Orrick for work
performed through July 31 and re Orrick
fee application preparation (.10); revise
and finalize Orrick’s monthly statement
for fees and expenses for June and July
2006 (.80); review emails and portions of
monthly statement from debtors’ and other
committee’s professionals and emails to
Diversified professionals re same (.90);
email memo to R. Worthen re Orrick’s
monthly statement and related status
matters and email memo to R. Worthen re
Beckley Singleton fee statement (.10);
email memos to M. Levinson re amounts
billed by certain of the debtors’ and
committees’ professionals (.20).
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08/27/06 M. Levinson Exchange email memoranda with L. Ermce
re the status of her preparation of the
Orrick first interim fee application and re
related matters.

08/27/06 L. Ernce Begin drafting and revising Orrick’s first
interim fee application.

08/28/06 M. Levinson Review L. Ermce email memorandum to
R. Worthen re the Orrick first interim fee
application.

08/28/06 L. Ernce Exchange emails with M. Levinson re

status of Orrick first interim fee
application (.10); continue drafting and
revising application (1.20); another email
to M. Levinson re status of application and
related matters (.10); email memo to R.
Worthen re status and logistics for his
review and approval of Orrick interim fee
application (.10).

08/28/06 L. Ernce Exchange emails with A. Loraditch re
status of Diversified Committee’s approval
of interim fee procedures order; review
latest version of order; email to A.
Loraditch re approval of order.

08/29/06 M. Levinson Review and revise the draft Orrick first
interim fee application.
08/29/06 L. Ernce Review debtors’ application to retain

ordinary course attorneys and accountants
and email memo to M. Levinson and A.
Loraditch re same.

08/29/06 L. Ernce Exchange emails with A. Loraditch re
matters related to filing of fee applications
including logistics, timing and service
details; review order approving interim fee
procedures.

08/29/06 L. Ernce Continue drafting and revising Orrick’s
first interim fee application (3.30); draft
email memo to M. Levinson re draft
application (.10).

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0.10 56.00
3.20 1,488.00
0.10 56.00
1.50 697.50
0.30 139.50
0.90 504.00
0.20 93.00
0.20 93.00
3.40 1,581.00
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08/30/06 L. Ernce Continue drafting and revising Orrick fee 4.20 1,953.00

application, M. Levinson declaration and
R. Worthen declaration in support of
Orrick fee application (3.40); email
memorandum to R, Worthen re status of
application and applications of other
Diversified professionals (.10); emails to
FTI and Beckley Singleton re logistics for
finalizing and filing fee applications (.20);
further revise Orrick fee application and
finalize M. Levinson and R. Worthen
declarations (.50).

08/30/06 M. Levinson Review and interlineate revisions to the 0.90 504.00
next draft of the first interim Orrick fee
application (.40); review and interlineate
comments to the next draft of the first
interim Orrick fee application and brief
conference with L. Ernce re the same
(.20); review the draft R. Worthen and M.
Levinson declarations in support of the
first interim Orrick fee application and
exchange a series of brief email
memoranda with L. Ernce re the same
(.20); review L. Ernce email memoranda
to A. Loraditch and C. Harvick re the
completion of the Orrick application and
of the declarations and re next steps with
respect to the Beckley and FTI
applications (.10).
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08/31/06 L. Ernce Revise and finalize Orrick fee application 2.30 1,069.50

and email memos to A. Loraditch re filing
and service of same (.70); exchange
emails and telephone conferences with P.
Kois and M. Tucker re status of FTI fee
application (.40); obtain and circulate fee
applications filed by debtors’ and
committee professionals today and emails
with M. Levinson and A. Loraditch (.40);
exchange emails with A. Loraditch and P.
Kois re FTI application (.10); emails with
P. Kois re preparing notice of hearing on
fee applications (.10); review portions of
interim fee procedures motion and email
to M. Levinson and A. Loraditch re same
(.20); telephone conference with M.
Levinson re status of Diversified
Committee professionals fee applications
(.10); telephone conference with M.
Tucker re interim fee procedures order and
timing for filing of FTI fee application
(.20); email memo to A. Loraditch and M.
Levinson re same (.10); telephone
conference with A. Loraditch re same,
today’s hearings and related matters (.20).

B160 — Fee/Employment Applications Total 56.50 26,812.50
Task B170 — Fee/Employment Objections

08/11/06 M. Levinson Review C. Harvick email memorandum re 0.10 56.00
the Mesirow submission and email
memorandum to the DTDF professionals
re the same (.10).

08/13/06 L. Ernce Begin reviewing and analyzing invoices of 2.80 1,302.00
debtors’ professionals for June 2006.
08/14/06 L. Ernce Continue reviewing and analyzing June 2.30 1,069.50
2006 invoices for debtors’ professionals.
B170 — Fee/Employment Objections Total 5.20 2,427.50
PHASE B100 —- ADMINISTRATION TOTAL 206.70 105,820.00

PHASE B300 —- CLAIMS AND PLAN

Task B310 — Claims Administration and Objections

08/11/06 K. Neureiter Organize/categorize all research, 2.30 862.50
pleadings and notes related to Prospect
High Income Fund claim to send to A.
Loraditch and draft A. Loraditch email.
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08/29/06 L. Ernce

B310 — Claims Administration and Objections Total

Review order continuing hearing on
objection to Prospect High Income Fund
objection and email to Diversified
professionals re same.

Task B320 — Plan and Disclosure Statement (including Business Plan)

08/01/06 M. Levinson

Review a number of email memoranda
from committee professionals about a call
to discuss plan issues this morning and
send a follow-up email memorandum to
all committee professionals (.20); prepare
for the conference call including re-
reviewing the proposal from Plan
Proponent No. 1 and reviewing the
lengthy A. Jarvis email memorandum re
plan procedures (.20); telephone
conversation with M. Bloom re the
proposal from Plan Proponent No. 1 (.20);
telephone conversation with M. Tucker in
preparation for the call (.20); long
conference call with professionals for all
four committees re the plan process and re
the C. Carlyon draft email memorandum
to A. Jarvis (1.20); review and interlineate
comments the next drafts of the C.
Carlyon email memorandum, as revised
by C. Carlyon and then by S. Freeman
(.20); telephone conversation with S.
Freeman re the draft letter and re next

steps (.20); telephone conversation with A.

Loraditch re this morning’s call and email
memoranda and re next steps in the plan
process (.20); exchange email memoranda
with R. Kaplan, counsel to Plan Proponent
No. 4, and forward my response to
Beckley Singleton under cover of an email
memorandum (.20).

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0.10 46.50
2.40 909.00
2.80 1,568.00
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08/02/06 M. Levinson Exchange a series of email memoranda 2.70 1,512.00

with R. Kaplan re possible interest of Plan
Proponent No. 4 in becoming a plan
proponent and email memorandum to B.
Olson and others re the same (.20); review
C. Carlyon email memorandum re the
debtors’ failure so far to respond to the
email from the committees re plan
procedures, exchange of email memoranda
with S. Freeman re the same and review S.
Freeman email memorandum to A. Jarvis
re the same (.20); exchange more follow-
up email memoranda with R. Kaplan and
B. Olson re the upcoming call (.10);
telephone conversation with C. Harvick
and M. Tucker re their call with J.
Atkinson and J. Nugent re a possible plan
meeting on Thursday evening (.20);
telephone conversation with J. Gala of
potential Plan Proponent 4, along with R.
Kaplan, B. Olson and A. Loraditch (.60);
follow-up conversation with B. Olson and
A. Loraditch (.20); telephone conversation
with C. Pajak, with M. Tucker for part, re
the call with Plan Proponent No. 4 and re
a possible meeting of lawyers for the
committees and the debtors to discuss plan
and sale procedures (.30); review M.
Tucker and J. Atkinson email memoranda
re the possible meeting (.10); review and
analyze lengthy A. Jarvis email
memorandum re plan proponent and sale
procedures in response to S. Freeman’s of
yesterday (.20); exchange a series of
follow-up email memoranda with M.
Tucker re an appropriate response to the
same (.20); draft, revise and finalize a
lengthy email memorandum to
professionals for all four committees re
the same and re next steps (.40).

08/03/06 M. Levinson Telephone conversation with G. Gordon re 1.90 1,064.00 ~
establishing a procedure for plan proposals
(.20); portion of the evening meeting
among professionals for the four
committees and the debtors devoted to
establishing a procedure for plan proposals
(1.70).
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08/03/06 J. Hermann

08/05/06 M. Levinson

08/06/06 M. Levinson

08/07/06 J. Hermann

08/07/06 M. Levinson

08/08/06 L. Ernce

08/10/06 M. Levinson

08/11/06 M. Levinson

Analyze issues pertaining to plan of
reorganization structure and participate in
meetings involving debtor representatives
and all committees to discuss, among
other things, plan of reorganization issues.
Exchange email memoranda with M.
Bloom re scheduling a discussion of the
proposal from Plan Proponent No. 1.
Long telephone conversation with M.
Bloom re the offer from Plan Proponent
No. I and related plan/sale issues.

Review and analysis of purchase offer of
Plan Proponent No. 2 and participate in
exchange of email correspondence re
same.

Initial review of the proposal from Plan
Proponent No. 2 and exchange brief email
memoranda with J. Hermann re the same.
Review various notices of transfer of
claims by Debt Acquisition Company and
email to M. Levinson re same.

Telephone conversation with M. Bloom re
his conversation today with F. Merola and
re related plan and next steps issues (.20);
exchange follow-up email memoranda
with M. Bloom (.10); exchange a series of
email memoranda with R. Kaplan, D.
Choo, A. Loraditch and others re setting
up a call with Plan Proponent No. 4 for
this afternoon (.20); telephone
conversation with R. Kaplan, D. Choo, B.
Axelrod, A. Loraditch and others re case
status issues (.20).

Telephone conversation with R. Charles re
next steps in the plan process (.20);
exchange email memoranda with M.
Bloom re next steps and review email
memorandum from D. Cooney of Plan
Proponent No. 2 re a possible call or
meeting (.20); long telephone conversation
with M. Bloom re the proposal from Plan
Proponent No. 1| and re next steps (.50);
analysis re next steps in the plan process
in light of the conversation with M. Bloom
(.20).

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1.90

0.10

0.50

0.80

0.30

0.10

0.70

1.10

1,083.00

56.00

280.00

456.00

168.00

46.50

392.00

616.00
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08/14/06 M. Levinson Exchange email memoranda with S. Kahn 2.30 1,288.00

of Plan Proponent No. 2 re a possible call
later today (.20); exchange a series of
email memoranda with A. Loraditch re her
exchange of email memoranda with D.
Cooney of Plan Proponent No. 2 and re
next steps with respect to Plan Proponent
No. 2 (.20); telephone conversation with
C. Harvick and L. Ernce re next steps
toward a plan in light of the just-
completed all-hands conference call (.10);
telephone conversation with A. Loraditch
and L. Ernce re the same and re next steps
with respect to Plan Proponent No. 2 (.20);
telephone conversation with R. Charles re
arranging a meeting for tomorrow with
Plan Proponent No. 2 (.10); review and
respond to an email memorandum from D.
Cooney and review A. Loraditch response
to his email (.10); email memorandum to
M. Bloom re tomorrow night’s dinner
meeting (.10); review lengthy M. Bloom
email memorandum re tomorrow night’s
meeting and related matters and lengthy
telephone conversation with M. Bloom re
the same (.30); telephone conversation
with M. Tucker and L. Ernce re the
upcoming meetings with Plan Proponent
Nos. 1 and 2 (.10); email memorandum to
S. Kahn and D. Cooney re tomorrow
afternoon’s meeting and review R. Charles
email re the same (.10); review lengthy
email memorandum from R. Goe, counsel
to another possible plan proponent No. 5,
and forward the same to the Diversified
professionals (.20); telephone
conversation with C. Harvick re the same
and voicemail message to R. Goe with C.
Harvick (.10); review and analyze M.
Moro outline of a plan structure and
forward the same under cover of an email
to the DTDF professionals (.30); review
and analyze lengthy M. Tucker email
memorandum containing a possible
plan/settlement proposal to the direct
lenders and respond to M. Tucker via a
brief email memorandum (.20).

08/14/06 L. Ernce Telephone conference with M. Levinson 0.10 46.50
and M. Tucker re plan issues.
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08/14/06 L. Ernce Review M. Levinson and A. Loraditch 1.20 558.00
emails re proposal from Plan Proponent
No. 2 (.20); review exchange of emails
with D. Cooney re conflicts concerns and
re Orrick does not have conflicts (.10);
review emails re tomorrow’s meetings
with Plan Proponent No. 1 and Plan
Proponent No. 2 (.20); review email from
M. Levinson re email from Plan Proponent
No. 5 (.10); review proposal from Plan
Proponent No. 1 (.40); review emails from
M. Tucker re potential creative settlement
ideas and exchange of emails re same
(.20).

08/15/06 M. Levinson Very long telephone conversation with R. 4.90 2,744.00
Goe, counsel toa Plan Proponent No. 5,
and M. Tucker, re background facts and
plan issues (.70); review R. Goe and J.
Nugent email memoranda re R. Goe
signing a confidentiality agreement and re
next steps in the due diligence process
(10); exchange a series of email
memoranda with D. Cooney re the
upcoming meeting with Plan Proponent
No. 2 (.10); meeting at Lewis & Roca with
Plan Proponent No. 2 and the USAMC
unsecured creditors committee, including
D. Cooney, R. Worthen, R. Charles, L.
Ernce and T. Burr in person, and S. Khan
and C. Fortgang by phone (1.40); follow-
up discussion re the same and re other
plan and exit issues with R. Charles, S.
Freeman, D. Walker, R. Worthen, M.
Tucker, C. Harvick and L. Ernce (.50)
business portion of dinner meeting with
Plan Proponent No. 1, including R.
Worthen, C. Harvick, L. Ernce, M. Bloom,
J. Cuticelli and V. Fracaro (2.00); review
follow-up, post-meeting email memoranda
from S. Khan and D. Cooney of Plan
Proponent No. 2 (.10).
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08/15/06 LL. Ernce Meet with Plan Proponent No. 2, the 3.90 1,813.50

unsecured creditors committee and others
at Lewis & Roca to discuss plan proposal
(1.40); follow-up conference re same with
counsel for the unsecured creditors
committee and other Diversified Fund
professionals (.50); business portion of
dinner meeting with Plan Proponent No. |
with R. Worthen, C. Harvick and M.
Levinson to discuss plan proposal (2.00).

08/16/06 M. Levinson Telephone conversation with G. Garman 2.10 1,176.00
re tomorrow’s all-hands meeting and re the
Diversified Committee’s thoughts about
certain plan issues (.20); telephone
conversation with M. Bloom, J. Cuticelli
and V. Fracaro of Plan Proponent No. 1 re
today’s Diversified Committee meeting
and re next steps (.20); telephone
conversation with R. Charles in
preparation for tomorrow’s all-hands
meeting (.10); business portion of dinner
meeting with R. Charles and L. Ernce
during which we discuss plan issues and
prepare for the meeting with A. Jarvis and
others later tonight (.50); exchange a
series of email memoranda with A. Jarvis
and R. Charles re a possible meeting this
evening to discuss plan and other matters
(.10); exchange lengthy email memoranda
with A. Jarvis re the possibility of an all-
hands meeting with Plan Proponent No. |
tomorrow (.10); portion of a late evening
meeting with A. Jarvis, S. Smith, J.
Atkinson, R. Charles and L. Ernce during
which we discuss plan issues and
tomorrow’s all-hands meeting (.50); travel
from the meeting (.20); review, analyze
and respond to lengthy M. Tucker email
memorandum re a possible plan discussion
item for tomorrow’s all-hands meeting
(.20).

08/16/06 L. Ernce Portion of dinner meeting with M. 0.70 325.50
Levinson and R. Charles re plan issues in
advance of meeting with A. Jarvis and
Mesirow later tonight (.50); meeting with
A. Jarvis, Mesirow representatives, R.
Charles and M. Levinson re plan issues in
advance of tomorrow’s meetings (.20).
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08/17/06 M. Levinson

08/17/06 L. Ernce

08/18/06 M. Levinson

08/18/06 L. Ernce

08/20/06 M. Levinson

L

September 22, 2006

Invoice No. 1031855

Exchange emails with and telephone 0.50
conversation with M. Tucker re the form

of plan proposals DTDF should make to

First Trust and to the direct lenders (.30);

portion of long conference call with M.

Tucker, C. Harvick, J. Hermann and L.

Ernce devoted to discussing next steps

with respect to a plan or sale (.20).

Conference call with FTI, J. Hermann and 0.30
M. Levinson re plan or sale alternatives

and next steps (.20); review email from C.

Harvick and Diversified Fund loan lists to

be provided to potential plan proponents

(.10).

Brief telephone conversation with C. 1.10
Fortgang and exchange of email

memoranda with S. Khan and D. Cooney

re arranging a call re with Proponent No. 2

(.20); telephone conversation with C.

Fortgang, M. Tucker and C. Harvick (.20);

telephone conversation with M. Tucker

and C. Harvick re calling Plan Proponent

No. 2 (.10); telephone conversation with

A. Jarvis re the foregoing and re next steps

(.20); telephone conversation with Plan

Proponent No. 3 re his company’s interest

in making a proposal (.20); analysis re

next steps in light of the same and follow-

up email memorandum re the same to the

team of DTDF professionals (.20).

Review email from M. Levinson and 0.10
voicemail transcript from potential plan

proponent Plan Proponent No. 3.

Review and analyze the list prepared by C. 0.40
Harvick of those loans that DT DF might

consent to include in any sale to a plan

proponent and review the B. Olson and C.

Harvick follow-up email memoranda re

the same (.20); draft and revise an email

memorandum to all committee counsel re

the same and forward the draft to the

DTDF professionals for their comment

(.20).

280.00

139.50

616.00

46.50

224.00
